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 1   [Stipulating parties listed on signature page]

 2

 3                                   UNITED STATES DISTRICT COURT

 4                                NORTHERN DISTRICT OF CALIFORNIA

 5                                        SAN FRANCISCO DIVISION

 6   In re: CATHODE RAY TUBE (CRT)                          )   Case No. 07-5944 SC
     ANTITRUST LITIGATION                                   )
 7                                                          )   MDL No. 1917
                                                            )
 8   This Document Relates to:                                  STIPULATION AND [PROPOSED]
                                                            )
     Best Buy Co., Inc. et al. v. Hitachi, Ltd., et al.,        ORDER REGARDING DEFENDANTS’
                                                            )
 9   No. 3:11-cv-05513-SC                                       MOTION FOR SUMMARY JUDGMENT
                                                            )
                                                                ON PLAINTIFFS’ UMBRELLA
10   Best Buy C., Inc., et al. v. Technicolor SA, et al.,   )
                                                                DAMAGES [MDL DKT NO. 2977]
     No. 3:13-cv-05264-SC                                   )
11                                                          )
     Alfred H. Siegel, as Trustee of the Circuit City       )
12   Store, Inc. Liquidating Trust v. Hitachi, Ltd.,        )
     No. 3:11-cv-05502-SC                                   )
13
     Alfred H. Siegel, as Trustee of the Circuit City       )
14   Store, Inc. Liquidating Trust v. Technicolor SA,       )
     et al., No. 3:13-cv-05261-SC                           )
15                                                          )
     CompuCom Systems, Inc. v. Hitachi, Ltd., et al.,       )
16   Case No. 3:11-cv-06396                                 )
17   Costco Wholesale Corp. v. Hitachi, Ltd., et al.,       )
     No. 3:11-cv-06397-SC                                   )
18                                                          )
     Costco Wholesale Corp. v. Technicolor SA, et
                                                            )
19   al., No. 3:13-cv-05723-SC
                                                            )
     Electrograph Systems, Inc., et al. v. Hitachi,         )
20   Ltd., et al., No. 11-cv-01656-SC                       )
21   Electrograph Systems, Inc., et al. v. Technicolor      )
     SA, et al., No. 13-cv-05724-SC                         )
22                                                          )
     Interbond Corp. of Am. v. Hitachi, Ltd. et al.,        )
23   No. 3:11-cv-06276-SC                                   )
     Interbond Corp. of America v. Technicolor SA,          )
24                                                          )
     et al., No. 3:13-cv-05727-SC
25                                                          )
     Office Depot, Inc. v. Hitachi, Ltd. et al, No.         )
26   3:11-cv-06276-SC                                       )
     Office Depot, Inc. v. Technicolor SA, et al., No.      )
27   13-cv-05726-SC                                         )
                                                            )
28   P.C. Richard & Son Long Island Corp., et al., v.
                                                            1
      STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON PLAINTIFFS’
                                              UMBRELLA DAMAGES
         Case 3:07-cv-05944-JST Document 3225 Filed 12/19/14 Page 2 of 11



 1   Hitachi, Ltd., et al.¸ No. 12-cv-02648-SC           )
                                                         )
 2   P.C. Richard & Son Long Island Corp., et al. v.
                                                         )
     Technicolor SA, et al., No. 13-cv-05725-SC
 3                                                       )
     Sears, Roebuck & Co. and Kmart Corp. v.             )
 4   Chunghwa Picture Tubes, Ltd., et al., Case No.      )
     3:11-cv-05514-SC                                    )
 5                                                       )
     Sears, Roebuck & Co. and Kmart Corp. v.
     Technicolor SA, et al., No. 3:13-cv-05262           )
 6
                                                         )
     Target Corp. v. Chunghwa Picture Tubes, Ltd.,       )
 7
     et al., No. 3:11-cv-05514-SC                        )
 8   Target Corp. v. Technicolor SA, et al., No 3:13-    )
     cv-05686-SC                                         )
 9                                                       )
     Tech Data Corp., et al. v. Hitachi, Ltd., et al.,   )
10   No. 3:13-cv-00157-SC                                )
11   Schultze Agency Services, LLC on behalf of          )
     Tweeter Opco, LLC and Tweeter Newco, LLC v.         )
12   Hitachi, Ltd., et al., No. 12-cv-2649-SC            )
                                                         )
13   Schultze Agency Services, LLC on behalf of
                                                         )
     Tweeter Opco, LLC and Tweeter Newco, LLC v.
                                                         )
14   Technicolor SA., et al., No. 13-cv-05668-SC
                                                         )
15   ViewSonic Corp. v. Chunghwa Picture Tubes,          )
     Ltd., et al., No. 3:14-cv-02510-SC                  )
16                                                       )
17           The Direct Action Plaintiffs in the above-captioned actions (“DAPs”), on the one hand, and

18   Defendants, on the other hand, hereby stipulate as follows:

19           WHEREAS, on November 7, 2014, Defendants filed their Notice of Motion and Motion for

20   Summary Judgment on Plaintiffs’ Umbrella Damages (MDL Dkt. No. 2977);

21           WHEREAS, the DAPs no longer intend to pursue “umbrella” damages based on purchases of

22   CRTs, or products containing CRTs, where the CRTs were not manufactured by a conspirator;

23           IT IS HEREBY STIPULATED AND AGREED by and between counsel for the DAPs and

24   the undersigned Defendants, subject to the concurrence of the Court, that:

25           1.      The DAPs shall not recover or seek to recover umbrella damages for any of their

26   claims under federal or state law.

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      STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON PLAINTIFFS’
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 1          2.      Neither the DAPs nor their witnesses shall refer to, or argue that it would be

 2   appropriate to award, umbrella damages or any damages based on purported effects caused by the

 3   existence of a price umbrella;

 4          3.      Contingent upon the Court’s approval of this Stipulation, Defendants shall withdraw

 5   their Motion for Summary Judgment on Plaintiffs’ Umbrella Damages.

 6                                                   ***

 7          The undersigned parties jointly and respectfully request that the Court enter this stipulation

 8   as an order.

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10   PURSUANT TO STIPULATION, IT IS SO ORDERED.                           TES D      TC
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12          12/18/2014
     Dated:___________________                          ______________________________________
                                                                    Hon. Samuel Conti




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13                                                              United States District Judge
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14                                                                                        uel Con
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      STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON PLAINTIFFS’
                                              UMBRELLA DAMAGES
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 1          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

 2   document has been obtained from each of the below signatories.

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21                                                           Interbond Corporation of America and
                                                             Schultze Agency Services, LLC on behalf of
22                                                           Tweeter Opco, LLC and Tweeter Newco, LLC

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      STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON PLAINTIFFS’
                                              UMBRELLA DAMAGES
       Case 3:07-cv-05944-JST Document 3225 Filed 12/19/14 Page 5 of 11



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     STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON PLAINTIFFS’
                                             UMBRELLA DAMAGES
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     STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON PLAINTIFFS’
                                             UMBRELLA DAMAGES
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     STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON PLAINTIFFS’
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     STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON PLAINTIFFS’
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     STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON PLAINTIFFS’
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      Case 3:07-cv-05944-JST Document 3225 Filed 12/19/14 Page 11 of 11



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     STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON PLAINTIFFS’
                                             UMBRELLA DAMAGES
